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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  DISPLAY TECHNOLOGIES, LLC,            §
                                        §
        Plaintiff,                      §                      Case No: 0:19-cv-61896
                                        §
  vs.                                   §                      PATENT CASE
                                        §
  INMUSIC, LLC                          §                      JURY TRIAL DEMANDED
                                        §
        Defendant.                      §
  _____________________________________ §


                                             COMPLAINT

         Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this Complaint

  against Inmusic, LLC (“Defendant” or “Inmusic”) for infringement of United States Patent No.

  9,300,723 (the “‘723 Patent”).

                                 PARTIES AND JURISDICTION

         1.      This is an action for patent infringement under Title 35 of the United States Code.

  Plaintiff is seeking injunctive relief as well as damages.

         2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

  Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

  under the United States patent statutes.

         3.      Plaintiff is a Texas limited liability company with a place of business at 1801 NE

  123rd Street, Suite 314, North Miami, FL 33161.

         4.      On information and belief, Defendant is a Delaware limited liability company

  with a principal office address of 1201 E. Broward Blvd., Fort Lauderdale, FL 33301. On

  information and belief, Defendant may be served through its agent, NRAI Services, Inc., 1200

  South Pine Island Rd., Plantation, FL 33324.
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          5.      This Court has personal jurisdiction over Defendant because Defendant has

  committed, and continues to commit, acts of infringement in this District, has conducted business

  in this District, and/or has engaged in continuous and systematic activities in this District.

          6.      Upon information and belief, Defendant’s instrumentalities that are alleged

  herein to infringe were and continue to be used, imported, offered for sale, and/or sold in this

  District.

                                                VENUE

          7.      On information and belief, venue is proper in this District under 28 U.S.C. §

  1400(b) because Defendant is deemed to be a resident of this District. Alternatively, acts of

  infringement are occurring in this District and Defendant has a regular and established place of

  business in this District.

                                     COUNT I
                (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

          8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

          9.      This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

          10.     Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to enforce

  the ‘723 Patent and sue infringers.

          11.     A copy of the ‘723 Patent, titled “Enabling social interactive wireless

  communications,” is attached hereto as Exhibit A.

          12.     The ‘723 Patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code.

          13.     Defendant has infringed and continues to infringe one or more claims, including

  at least Claims 12, 14, 16, 17, and 20 of the ‘723 Patent by making, using, and/or selling media
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  systems covered by one or more claims of the ‘723 Patent. For example, Defendant makes, uses,

  and/or sells the Tailgaiter Express speaker system with NFC and Bluetooth wireless technology

  (SKU: TAILGATEREXPXCA), and any similar products (“Product”). Defendant has infringed

  and continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.

         14.     Regarding Claim 12, the Product is configured to receive a media file (e.g., music

  file) from a wireless mobile device (e.g., mobile phone) over a communication network (e.g.

  Bluetooth network or NFC). The wireless mobile device (e.g., mobile phone) sends data (e.g.,

  music file) to the media system. The wireless mobile device is a passive NFC device, whereas

  the media system is an active NFC device as it can receive the data during wireless transmission.

  Certain aspects of this element are illustrated in the screenshots below and/or those provided in

  connection with other allegations herein.
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         15.     The Product includes a wireless receiver (e.g., Bluetooth receiver). Certain

  aspects of this element are illustrated in the screenshots below and/or in those provided in

  connection with other allegations herein.




         16.     The Product includes a security measure (e.g., Bluetooth PIN). Certain aspects of

  this element are illustrated in the screenshots below and/or those provided in connection with

  other allegations herein.




         17.     The Product is disposed in an accessible relation to at least one interactive

  computer network (e.g., Bluetooth network) that has a wireless range structured to permit

  authorized access (e.g., via pairing code) to said at least one interactive computer network.
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  Certain aspects of this element are illustrated in the screenshots below and/or those provided in

  connection with other allegations herein.




         18.     When the wireless mobile device is within the wireless range, the wireless mobile

  device is detectable by the media system (e.g., the media system automatically detects a

  smartphone with NFC when placed within NFC range). Data transmission through NFC is done

  by two devices: polling device and listening device. The polling device is the one that initiates

  the communication link and the listening device is the one that detects the signal. In the Product,

  the media system is the polling device and the wireless mobile device is the listening device.

  The media system (active NFC) sends electromagnetic signals within a certain area. The mobile

  phone (passive NFC) detects the signals and the connection is established. As the

  electromagnetic signals are being initiated by the media system, the media system behaves as an

  initiator (polling device) and the mobile device phone behaves as a target (listening device).

  Certain aspects of this element are illustrated in the screenshots below and/or those provided in

  connection with other allegations herein.
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         19.     At least one digital media file (e.g., music file) is initially disposed on the wireless

  mobile device (e.g., the mobile phone includes one or more music files). Certain aspects of this

  element are illustrated in the screenshots below and/or those provided in connection with other

  allegations herein.




         20.     The media system is structured to detect the wireless mobile device disposed

  within the wireless range (e.g., media system automatically detects the mobile phone when

  placed within NFC range). The media system (active NFC) sends electromagnetic signals within

  a certain area. The mobile phone (passive NFC) detects the signals and the connection is

  established. Certain aspects of this element are illustrated in the screenshots below and/or those

  provided in connection with other allegations herein.
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         21.     A communication link (e.g., NFC) is structured to dispose the media system and

  the wireless mobile device (e.g. mobile phone) in a communicative relation with one another via

  the at least one interactive computer network. Certain aspects of this element are illustrated in

  the screenshots below and/or those provided in connection with other allegations herein.
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          22.     The communication link is initiated by the media system (e.g., the media system

   sends electromagnetic signals which are detected by the mobile phone). Certain aspects of this

   element are illustrated in the screenshots below and/or those provided in connection with other

   allegations herein.
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          23.     The wireless mobile device and the media system are structured to transmit the

   at least one digital media file there between via the communication link (e.g., media system

   allows for the transmission of files between itself and the wireless mobile device; e.g., the mobile

   device transmits the music file to the media system). Certain aspects of this element are

   illustrated in the screenshots provided in connection with other allegations herein.

          24.     The communication link is structured to bypass the security measure of the media

   system for a limited permissible use of the communication link by the wireless mobile device

   for only transferring the at least one digital media file to, and displaying the at least one digital
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   media file on, the media system (e.g., the media system bypasses the security measure (e.g., PIN-

   based pairing process) of the Bluetooth network using the NFC). Certain aspects of this element

   are illustrated in the screenshots below and/or those provided in connection with other

   allegations herein.




             25.   Regarding Claim 14, the transmission of the at least one digital media file from

   the wireless mobile device to the media system completely bypasses the security measure (e.g.,

   the Wi-Fi security settings such as encryption or password requirements are completely bypassed

   for the purpose of transmitting the digital media file). Certain aspects of this element are

   illustrated in the screenshots provided in connection with other allegations herein.

             26.   Regarding Claim 16, the media system is an audio system.

             27.   Regarding Claim 17, the communication link is a Bluetooth connection.

             28.   Regarding Claim 20, the digital media file is provided by the wireless mobile

   device.

             29.   Defendant’s actions complained of herein will continue unless Defendant is

   enjoined by this court.

             30.   Defendant’s actions complained of herein are causing irreparable harm and

   monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

   and restrained by this Court.

             31.   Plaintiff is in compliance with 35 U.S.C. § 287.
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                                        PRAYER FOR RELIEF

             WHEREFORE, Plaintiff asks the Court to:

             (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

   herein;

             (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

   attorneys, and all persons in active concert or participation with Defendant who receive notice

   of the order from further infringement of United States Patent No. 9,300,723 (or, in the

   alternative, awarding Plaintiff running royalties from the time of judgment going forward);

             (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

   with 35 U.S.C. § 284;

             (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

             (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

   law or equity.
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     Dated: July 26, 2019               Respectfully submitted,

                                        Sand, Sebolt & Wernow Co., LPA

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